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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               NORTHERN DIVISION

JEREMY KENNEDY                                                                      PLAINTIFF
ADC #093061

v.                                    3:24-cv-00180-JM

JACKSON COUNTY, ARKANSAS; et al.                                                DEFENDANTS


                                         JUDGMENT

       Consistent with the Orders entered today and previously (Docs. 23), Plaintiff’s claims are

DISMISSED, and this case is CLOSED. It is certified that an in forma pauperis appeal from this

Judgment would not be taken in good faith. 28 U.S.C. § 1915(a)(3).

       Dated this 27th day of February 2025.




                                                         ________________________________
                                                         UNITED STATES DISTRICT JUDGE
